                    IN THE UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF ILLINOIS – EASTERN DIVISION

 In re:                                         )   Chapter 7
                                                )
 FRANK MARTIN PARIS, JR.                        )   Case No. 23-16481
                                                )
                          Debtor.               )   Honorable David D. Cleary
                                                )
                                                )   Hearing Date: March 27, 2024
                                                )   Hearing Time: 10:00 a.m.

                                      NOTICE OF MOTION

TO:       See attached Certificate of Service

        PLEASE TAKE NOTICE that on March 27, 2024 at 10:00 a.m., I will appear before
the Honorable David D. Cleary, or any judge sitting in his place, either in Courtroom 644 of the
Everett McKinley Dirksen United States Courthouse, 219 S. Dearborn St., Chicago, Illinois, or
electronically as described below and present Republic Bank of Chicago’s Motion to Extend
Time to Object to Discharge Or Dischargeability Pursuant to 11 U.S.C. §§ 727 or 523, a copy
of which is attached.

       Important: Only parties and their counsel may appear for presentment of the motion
electronically using Zoom for Government. All others must appear in person.

          To appear by video, use this link: https://www.zoomgov.com. Then enter the meeting ID.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID. Meeting ID and password. The meeting ID for this hearing is
161 122 6457 and the passcode is Cleary644. The meeting ID and further information can also be
found on Judge Cleary’s web page on the court’s web site.
        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.

Dated: March 8, 2024                       Respectfully submitted,

                                           REPUBLIC BANK OF CHICAGO

                                           By:     /s/ Timothy W. Brink
                                                   One of Its Attorneys

                                           Timothy W. Brink (ARDC No. 6215802)
                                           Steven R. Rogovin (ARDC No. 6301409)
                                           MELTZER, PURTILL & STELLE LLC
                                           125 South Wacker Drive, Suite 2900
                                           Chicago, Illinois 60606
                                           (312) 987-9900
                                           tbrink@mpslaw.com
                                           srogovin@mpslaw.com




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                                CERTIFICATE OF SERVICE

        I, Christine Rampich, affirm that on March 8, 2024, I served copies of the attached Motion
to Extend Time to Object to Discharge or Dischargeability Pursuant to 11 U.S.C. §§ 727 or
523 and the accompanying [Proposed] Order Granting Motion to Extend Time to Object to
Discharge or Dischargeability Pursuant to 11 U.S.C. §§ 727 or 523 upon those individuals listed
on the attached service list through the Court’s ECF system and/or by depositing same in the U.S.
Mail from 125 South Wacker, Suite 2900, Chicago, Illinois.
                                                            By     /s/ Christine Rampich



Electronic Mail Notice Through the ECF System

•   Paul M Bauch pbauch@bmlawllc.com,
    smohan@bmlawllc.com;5242@notices.nextchapterbk.com
•   Ira Bodenstein iratrustee@cozen.com, IL29@ecfcbis.com
•   Timothy W Brink tbrink@mpslaw.com, crampich@mpslaw.com
•   Scott R Clar sclar@cranesimon.com,
    mjoberhausen@cranesimon.com;asimon@cranesimon.com
•   Thomas C Cronin tcc@cronincoltd.com
•   Sean B Crotty scrotty@crottylaw.com,
    dmueller@colemanlawfirm.com;docket@crottylaw.com
•   Daniel P. Dawson ddawson@nisen.com, adrag@nisen.com
•   Allen J Guon aguon@cozen.com, allen-guon-
    6333@ecf.pacerpro.com;cknez@cozen.com
•   Steve Jakubowski sjakubowski@robbinsdimonte.com
•   Patrick S Layng USTPRegion11.ES.ECF@usdoj.gov
•   Thomas S. Leo sleo@leolawpc.com, officemanager@leolawpc.com
•   Sonette Magnus smagnus@thompsoncoburn.com
•   Ann Addis Pantoga apantoga@thompsoncoburn.com
•   Elizabeth E Richert erichert@crottylaw.com,
    docket@crottylaw.com;dmueller@crottylaw.com
•   Steven R Rogovin srogovin@mpslaw.com, crampich@mpslaw.com
•   Carolina Y. Sales csales@robbinsdimonte.com, mrussell@robbinsdimonte.com
•   Steven Yachik syachik@kelleydrye.com, KDWBankruptcyDepartment@kelleydrye.com

Notice (Via U.S. Mail)

Frank Martin Paris, Jr.
1100 Keystone
River Forest, IL 60305
                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ILLINOIS – EASTERN DIVISION

 In re:                                         )   Chapter 7
                                                )
 FRANK MARTIN PARIS, JR.                        )   Case No. 23-16481
                                                )
                        Debtor.                 )   Honorable David D. Cleary
                                                )
                                                )   Hearing Date: March 27, 2024
                                                )   Hearing Time: 10:00 a.m.

               MOTION TO EXTEND TIME TO OBJECT TO
   DISCHARGE OR DISCHARGEABILITY PURSUANT TO 11 U.S.C. §§ 727 OR 523

          COMES NOW, Republic Bank of Chicago, by and through undersigned counsel, and for

its Motion to Extend Time to Object to Discharge or Dischargeability Pursuant to 11 U.S.C. §§

727 or 523 (the “Motion”), states as follows:

                                         JURISDICTION

          1.    The Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334.

          2.    This matter is a core proceeding under 28 U.S.C. § 157(b).

          3.    Venue is proper in this Court under 28 U.S.C. §§ 1408 and 1409.

                                         BACKGROUND

          4.    The Debtor, Frank Martin Paris, Jr. (“Debtor”), filed a voluntary petition for relief

under chapter 7 of title 11 of the United States Code (the “Bankruptcy Code”) on December 8,

2023 (the “Petition Date”).

          5.    The current deadline to file a complaint to seek the exception of debts from

discharge pursuant to 11 U.S.C. §523 is March 8, 2024. The current deadline to file a motion or

complaint objecting to the Debtor receiving a discharge pursuant to 11 U.S.C. §727 is also March

8, 2024.
        6.     Because the deadlines to file a complaint to seek the exception of debts from

discharge pursuant to 11 U.S.C. §523 and to file a motion or complaint objecting to the Debtor

receiving a discharge pursuant to 11 U.S.C. §727 have not yet passed, this Motion is timely

pursuant to Rules 4004(b) and 4007(c) of the Federal Rules of Bankruptcy Procedure.

                                    RELIEF REQUESTED

        7.     Debtor serves as the guarantor of payment, completion, and other obligations to

Republic Bank of Chicago in connection with financing provided by Republic Bank of Chicago to

certain entities in which Debor may, directly or indirectly, hold an interest. Debtor’s actions and

statements made during the course of such loans are still being analyzed.

        8.     Accordingly, without prejudice as to whether any such complaint or motion is or

will be necessary, Republic Bank of Chicago requests that the deadlines to file a complaint to seek

the exception of debts from discharge pursuant to 11 U.S.C. §523 and to file a motion or complaint

objecting to the Debtor receiving a discharge pursuant to 11 U.S.C. §727 be extended to May 31,

2024.




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       WHEREFORE, Republic Bank of Chicago respectfully requests that the Court enter an

order (i) extending the deadlines to file a complaint to seek the exception of debts from discharge

pursuant to 11 U.S.C. §523 and to file a motion or complaint objecting to the Debtor receiving a

discharge pursuant to 11 U.S.C. §727 to May 31, 2024 and (ii) granting such other and further

relief as the Court deems appropriate.




                                             REPUBLIC BANK OF CHICAGO

                                             By:     /s/ Timothy W. Brink
                                                     One of Its Attorneys

                                             Timothy W. Brink (ARDC No. 6215802)
                                             Steven R. Rogovin (ARDC No. 6301409)
                                             MELTZER, PURTILL & STELLE LLC
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                                             Chicago, Illinois 60606
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                                             tbrink@mpslaw.com
                                             srogovin@mpslaw.com




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